          Case 2:21-cv-08367-SB-SK Document 8 Filed 10/22/21 Page 1 of 2 Page ID #:27

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                        Central District
                                                    __________  District of
                                                                         of California
                                                                            __________

    VLADAMUA, LLC, a California Limited Liability                     )
                  Company                                             )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                            Civil Action No. 2:21-cv-8367 SB (SKx)
                                                                      )
                   FASHION NOVA, LLC                                  )
                                                                      )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) FASHION NOVA, LLC
                                           330 N Brand Blvd Ste 700
                                           Glendale, CA 91203
                                           c/o: CT CORPORATION SYSTEM




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Stephen Charles McArthur (Bar No. 277712)
                                           stephen@smcarthurlaw.com
                                           The McArthur Law Firm PC
                                           9465 Wilshire Blvd., Ste. 300
                                           Beverly Hills, CA 90212
                                           Telephone: (323) 639-4455

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERK OF
                                                                                        F COURT
                                                                                             RT
                                                                                              T


Date:             10/22/2021
                                                                                           Signature
                                                                                           SSi
                                                                                             ignature of C
                                                                                                         Clerk
                                                                                                           lleerk or Deputy Cler
                                                                                                                            Clerk
           Case 2:21-cv-08367-SB-SK Document 8 Filed 10/22/21 Page 2 of 2 Page ID #:28

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:21-cv-8367 SB (SKx)

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
